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                   IN THE UNITED STATES DISTRICT COURT OF
                       THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

    ORANGE LAKE COUNTRY CLUB,                     CASE NO.: 17-cv-01542-GAP-DCI
    INC., a Florida corporation, and WILSON
    RESORT FINANCE, L.L.C., a Delaware
    limited liability company,

                   Plaintiffs,

    v.

    REED HEIN & ASSOCIATES, LLC d/b/a
    TIMESHARE EXIT TEAM; MITCHELL
    REED SUSSMAN d/b/a MITCHELL
    REED SUSSMAN & ASSOCIATES; and
    SCHROETER GOLDMARK & BENDER,
    P.S., BRANDON REED, TREVOR HEIN,
    and THOMAS PARENTEAU,

                      Defendants.
                                              /

                         THIRD AMENDED COMPLAINT
                     FOR DAMAGES AND INJUNCTIVE RELIEF

          Plaintiff ORANGE LAKE COUNTRY CLUB, INC., a Florida corporation, and

    Plaintiff WILSON RESORT FINANCE, L.L.C., a Delaware limited liability company,

    file this Third Amended Complaint against Defendants REED HEIN & ASSOCIATES,

    LLC d/b/a TIMESHARE EXIT TEAM, a Washington corporation; MITCHELL REED

    SUSSMAN d/b/a MITCHELL REED SUSSMAN & ASSOCIATES, an individual;

    SCHROETER GOLDMARK & BENDER, P.S., a Washington professional services

    corporation; BRANDON REED, an individual; TREVOR HEIN, an individual; and

    THOMAS PARENTEAU, an individual, and state:
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                                        INTRODUCTION

           1.     Timeshares are a popular option for vacationers throughout the world. In

    2016, Florida led the United States in timeshare resorts, comprising 24 percent of the

    national total of 1,547 resorts.1   It should come as no surprise, then, that Florida

    timeshare companies are often the main targets of schemes by so-called “consumer

    protection” firms whose business models profit from taking exorbitant up-front fees for

    disrupting the valid legal contracts between resorts and their owners and divert owners’

    money to them instead. One such target is Plaintiff Orange Lake Country Club, Inc.

    (“OLCC”).

           2.     OLCC is in the business of developing, financing, managing, and selling

    timeshare resort properties throughout the United States, including in Florida. OLCC has

    13 timeshare resorts totaling approximately 3,395 individual timeshare units and is

    supported by nearly 3,000 employees. There are currently over 100,000 OLCC timeshare

    owners worldwide. Plaintiff Wilson Resort Finance, L.L.C. (“Wilson Finance”) offers

    financing to purchasers of OLCC timeshare interests and is the holder of promissory

    notes and mortgages extended to owners (collectively, OLCC and Wilson Finance are

    “Orange Lake”).

           3.     Defendants Brandon Reed (“Reed”), Trevor Hein (“Hein”), and Thomas

    Parenteau (“Parenteau”) control Defendant Reed Hein & Associates d/b/a Timeshare Exit

    Team (“TET”) and serve as driving, integral figures in TET’s scheme described herein.


    1
      VacationBetter.org, Timeshare Industry Shows Another Year of Substantial Growth,
    http://vacationbetter.org/timeshare-industry-shows-another-year-of-substantial-growth/
    (Accessed Aug. 23, 2017).



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    Through TET’s website, advertising, and paid celebrity endorsements from the likes of

    Glenn Beck, Steve Harvey, and Dave Ramsey, Reed, Hein, and Parenteau make false and

    misleading promises purporting to operate a “consumer protection group” offering a

    “100% guarantee” to relieve timeshare owners of their obligations, including owners of

    Orange Lake timeshare interests. TET falsely promises safe, legal, and permanent exits

    regardless of whether any legal or factual basis exists to cancel the timeshare contract.

    TET also falsely claims that it can make or force timeshare companies to take back

    timeshare interests. If TET is unsuccessful in cancelling an owners’ timeshare interest,

    TET promises to return their money.

           4.     However, TET – which is not a law firm – is not providing redress to

    owners in situations in which a timeshare company, resort, or developer – such as Orange

    Lake – has done something illegal. TET does not investigate whether there is any legal

    or factual basis to cancel a timeshare contract and generally does not care if any basis

    exists. Rather, TET simply redirects to TET the money the owners would otherwise pay

    to their timeshare company, resort, or developer for their annual maintenance, taxes, or

    mortgage payments.

           5.     TET representatives have expressly stated that their business plan is to

    “break” the contracts between timeshare developers such as Orange Lake and the

    individual owners.

           6.     To accomplish TET’s goal to “break” those contracts, TET’s

    representatives, without even investigating whether there is any cognizable factual or

    legal basis for doing so, instruct owners to stop making their required payments to their




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    timeshare companies. TET’s representatives know that by giving owners this advice,

    owners will breach their valid and enforceable agreements with their timeshare company,

    resort, or developer.   Identifiable owners of Orange Lake timeshare interests have

    followed this very advice from TET’s representatives and Orange Lake has been

    damaged as a result.

           7.      The instructions from TET’s representatives are then furthered by TET

    and the attorneys retained by TET: Defendant Mitchell Reed Sussman d/b/a Mitchell

    Reed Sussman & Associates (“Sussman Law”) and Schroeter Goldmark & Bender, P.S.

    (“SGB Law”). In general, the timeshare owners never meet any of these attorneys. TET

    deliberately conceals the identity of these attorneys from its customers to ensure they can

    only obtain information about the status of their purported timeshare “exit” from TET.

    Moreover, TET deliberately misleads customers into thinking that TET is a law firm by

    selective use of the moniker “Hein, Reed, & Associates,” and falsely conveys to

    customers that it employs attorneys by referring to outside attorneys it claims to contract

    with as “our attorneys” and in other ways.

           8.      These TET-retained attorneys send boilerplate demand letters to the

    owners’ timeshare companies instructing them to cease communicating with TET’s

    purported “clients” and stating that TET’s “clients” wish to terminate their timeshare

    agreements.   These demand letters, which are generic and not personalized to the

    situation of any owner, are sent to Orange Lake in connection with identifiable owners of

    Orange Lake timeshare interests.       Likewise, TET instructs its customers not to

    communicate with their timeshare companies, again to deliberately prevent them from




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    obtaining information about the status of their timeshare and their purported “exit” from

    any source other than TET.

           9.      Thus, owners are hamstrung both by TET’s directions not to make their

    payments or to communicate with Orange Lake, and by SGB Law and Sussman’s

    furtherance of TET’s instructions by sending demand letters instructing Orange Lake not

    to contact its own customers. TET’s “100% guarantee” to refund the owners’ paid fee if

    TET fails to “exit” the owners from their timeshares is rendered worthless because TET

    considers foreclosure and other adverse legal consequences to the owners to be legitimate

    “exits” such that no guarantee is owed. Orange Lake owners have been lured into

    breaching their valid contracts with Orange Lake, subjecting them a forced “exit” of their

    timeshares through foreclosure and/or liability for breach of contracts exceeding the

    value of their fees paid to TET. In the end, only TET and the attorneys it hires profit,

    after providing no actual services, and Orange Lake is damaged.

                                           PARTIES

           10.     Plaintiff Orange Lake Country Club, Inc., is a Florida corporation with its

    principal place of business at 8505 West Irlo Bronson Memorial Highway, Kissimmee,

    Osceola County, Florida 34747.

           11.     Plaintiff Wilson Resort Finance, L.L.C., is a Delaware limited liability

    company with its principal place of business at 8505 West Irlo Bronson Memorial

    Highway, Kissimmee, Osceola County, Florida 34747.

                   a)     Its sole member is Wilson Resort Group, LLC, a Florida limited

                          liability company, with its principal place of business at 8505 West




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                        Irlo Bronson Memorial Highway, Kissimmee, Osceola County,

                        Florida 34747.

                 b)     Wilson Resort Group, LLC’s sole member is Orange Lake Country

                        Club, Inc., a Florida corporation with its principal place of

                        business at 8505 West Irlo Bronson Memorial Highway,

                        Kissimmee, Osceola County, Florida 34747.

          12.    Defendant Reed Hein & Associates, LLC, is a Washington limited liability

    company with its principal place of business at 3400 188th Street SW, Suite 300,

    Lynnwood, Washington 98037 (“Reed Hein”).

                 a)     Reed Hein’s Managing Members are Brandon Reed and Trevor

                        Hein.

                 b)     Makaymax, Inc., is a 60 percent owner of Reed Hein. Makaymax,

                        Inc., is a Washington corporation with its principal place of

                        business at 3400 188th Street SW, Suite 300, Lynnwood,

                        Washington 98037.

                 c)     Hein & Sons Industries, Inc., is a 40 percent owner of Reed Hein.

                        Hein & Sons Industries, Inc., is a Delaware corporation with its

                        principal place of business at 3400 188th Street SW, Suite 300,

                        Lynnwood, Washington 98037.

                 d)     “Timeshare Exit Team” is a registered trade name in Washington

                        for Reed Hein.




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           13.     Defendant Mitchell Reed Sussman d/b/a Mitchell Reed Sussman &

    Associates (“Sussman Law”) is an individual domiciled in Palm Springs, Riverside

    County, California, and is a citizen of California.

           14.     Defendant Schroeter Goldmark & Bender, P.S. (“SGB Law”) is a

    Washington professional services corporation with its principal place of business at 810

    Third Avenue, Suite 500, Seattle, Washington 98104.

           15.     Defendant Brandon Reed (“Reed”) is an individual domiciled in Kirkland,

    King County, Washington, and is a citizen of Washington.

           16.     Defendant Trevor Hein (“Hein”) is an individual domiciled in Surrey,

    British Columbia, Canada, and is a citizen of Canada.

           17.     Defendant Thomas Parenteau (“Parenteau”) is an individual domiciled in

    Seattle, King County, Washington, and is a citizen of Washington.

                                         JURISDICTION

           18.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

    because there is complete diversity of citizenship between Plaintiffs and all Defendants in

    this matter and the amount in controversy, exclusive of interest and costs, exceeds the

    sum of $75,000.00. Additionally, this Court has subject matter jurisdiction pursuant to

    28 U.S.C. § 1331 because a federal question is presented under the Lanham Act, 15

    U.S.C. § 1125(a).

           19.     This Court also has supplemental jurisdiction over Orange Lake’s state

    law claims under 28, U.S.C. § 1367 because those claims derive from a common nucleus

    of operative facts and are so related to claims in the action within original jurisdiction




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    that they form part of the same case or controversy under Article III of the United States

    Constitution.

             20.     This Court may exercise personal jurisdiction over all Defendants because

    this action arises out of and is related to Defendants’ purposeful contacts with the State of

    Florida, and this Court’s exercise of personal jurisdiction over TET would not violate

    traditional notions of fair play and substantial justice.

                                                 TET

             21.      TET (i) solicits owners of timeshare interests, many of whom reside in

    Florida and/or whose timeshare interests are located in Florida, through the use of false,

    misleading, and deceptive advertising, (ii) intentionally interferes with contracts between

    Orange Lake, a Florida corporation, and owners of Orange Lake Timeshare interests who

    retain TET (“Orange Lake Owners”), and (iii) is registered as a foreign limited liability

    company with the Florida Department of State in order to conduct business in the state of

    Florida.

             22.     TET’s Internet-based operations subject it to personal jurisdiction in the

    State of Florida. TET solicits owners of Florida timeshare interests through the use of

    false,     misleading,   and   deceptive    advertising     it   contains   on   its   websites,

    http://www.timeshareexitteam.com, www.reedhein.com, and www.321exit.com. These

    websites do not constitute passive advertising. TET solicits and receives the contact

    information of owners of Florida timeshare interests through the website, which involves

    the repeated transmission of computer files over the internet and allows owners of Florida

    timeshare interests to exchange their contact information with a host computer.




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           23.     TET commits tortious and/or wrongful acts in the State of Florida,

    specifically, tortious interference with contractual relationships between Orange Lake and

    owners of Orange Lake timeshare interests and unfair and deceptive acts and practices as

    further described herein. TET instructs owners of Orange Lake timeshare interests to

    stop making payments of maintenance and taxes, and of legitimately owed note and

    mortgage payments, to Orange Lake in Florida, which damages Orange Lake.

           24.     TET makes agreements with owners of Orange Lake timeshare interests,

    some of whom own timeshare interests in Florida. TET is to perform these agreements,

    in whole or in part, in Florida, supposedly negotiating with Orange Lake to release

    current and future obligations owed to the Plaintiffs.      To make the scheme seem

    legitimate TET instructs the lawyers it claims to retain, Sussman Law and SGB Law, to

    mail letters addressed to Orange Lake in Florida.

                                          Sussman Law

           25.     Sussman Law commits tortious acts in the State of Florida by conspiring

    with TET to tortiously interfere with contractual and business relationships between

    Orange Lake and owners of Orange Lake timeshare interests.

           26.     TET retains Sussman Law in order to effectuate the promised “exit,” often

    with respect to Orange Lake Owners who reside in Florida and/or own a timeshare

    interest located in Florida.    TET representatives instruct owners of Orange Lake

    timeshare interests to stop making any payments to Orange Lake, and then instruct

    Sussman Law to write Orange Lake boilerplate demand letters to, inter alia, stop

    communication between Orange Lake and its owners.




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            27.    These communications are directed to Orange Lake in Florida and serve to

     further the interference between the contractual relationships between Orange Lake and

     owners of Orange Lake timeshare interests.

                                            SGB Law

            28.    SGB Law commits tortious acts in the state of Florida by conspiring with

     TET to tortiously interfere with contractual relationships between Orange Lake and

     owners of Orange Lake timeshare interests.

            29.    TET retains SGB Law in order to effectuate the promised “exit,” often

     with respect to Orange Lake Owners who reside in Florida and/or own a timeshare

     interest located in Florida.   TET representatives instruct owners of Orange Lake

     timeshare interests to stop making any payments to Orange Lake, and then instruct SGB

     Law to write Orange Lake boilerplate demand letters to, inter alia, stop communication

     between Orange Lake and its owners.

            30.    These communications are directed to Orange Lake in Florida and serve to

     further the interference between the contractual relationships between Orange Lake and

     owners of Orange Lake timeshare interests.

                                                  Reed

            31.    Personal jurisdiction over Reed is proper because Reed, along with Hein

     and Parenteau, directs and controls TET, which they formed and have used for the

     improper purpose of operating a fraudulent timeshare exit scheme, and because TET is

     the alter ego of Reed, Hein and Parenteau.




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              32.      Reed uses TET as a mere instrumentality or business conduit to perpetrate

     a fraud on TET’s customers that results in significant harm to Orange Lake. Indeed,

     Reed controls and dominates TET to such an extent that it has no independent existence

     apart from his own (and Hein and Parenteau). He instructs his employees to delay and

     confuse customers about the status of their timeshare “exit” to avoid making good on

     TET’s refund guarantee,2 while siphoning millions of dollars from the company for his

     own personal pecuniary gain and for extraordinary personal expenses. Reed uses TET in

     an attempt to conceal his identity as an orchestrator of a fraudulent scheme directed at

     timeshare companies, including Orange Lake, such that the corporate form of TET must

     be disregarded and individual liability imposed on Reed in order to prevent further losses

     to Orange Lake.

              33.      This action arises out of and is related to Reed’s purposeful contacts with

     the State of Florida resulting from his actions and TET’s activities that he directed and

     controlled, including (i) the solicitation of owners of Florida timeshares through the use

     of false and deceptive advertising; (ii) the intentional interference with contracts between

     Orange Lake, a Florida company, and owners of timeshare interests in Florida; and (iii)

     making false and misleading statements regarding Orange Lake through TET’s website,

     directed at Florida residents.           Specifically, via postings on TET’s websites, TET

     purposefully directs marketing efforts to, and solicits, Florida residents who own

     timeshare interests in Orange Lake (including Orange Lake Owners who reside in

     2
       In fact, after one of the TET-retained attorneys inadvertently sent out letters in 2016 to thousands of TET
     customers falsely stating that their timeshare exits had been accomplished, Reed, Hein, and Parenteau
     elected not to tell customers the truth. Instead, and despite objections from TET’s account representatives,
     Reed, Hein, and Parenteau specifically instructed the account coordinators to conceal that information.




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     Florida). Indeed, through false and deceptive advertisements, TET lures Orange Lake

     Owners to pay large upfront fees to retain TET and induce the Orange Lake Owners to

     breach existing contracts with Orange Lake. Such false and deceptive advertisements

     also underlie Orange Lake’s claims against Reed for violations of the Lanham Act, 15

     U.S.C. § 1125(a), et seq., and violations of the Florida Deceptive and Unfair Trade

     Practices Act (“FDUTPA”).

            34.     Moreover, TET’s misleading and deceptive advertising campaign, which

     is orchestrated, supervised, and directed by Reed together with Hein and Parenteau,

     solicits owners of Florida timeshare interests through the use of false, misleading, and

     deceptive advertising on, inter alia, the websites, http://www.timeshareexitteam.com,

     www.reedhein.com, and www.321exit.com.              These websites do not constitute passive

     advertising. TET solicits and receives the contact information of owners of Florida

     timeshare interests through the website, which involves the repeated transmission of

     computer files over the internet and allows owners of Florida timeshare interests to

     exchange their contact information with a host computer. Reed designs and directs

     TET’s false and misleading advertising and marketing activities that cause Plaintiffs

     injury in Florida.

                                                  Hein

            35.     Personal jurisdiction over Hein is proper because Hein, along with Reed

     and Parenteau, directs and controls TET, which they formed and have used for the

     improper purpose of operating a fraudulent timeshare exit scheme, and because TET is

     the alter ego of Reed, Hein and Parenteau.




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            36.     Hein uses TET as a mere instrumentality or business conduit to perpetrate

     a fraud on TET’s customers that results in significant harm to Orange Lake. Indeed, Hein

     controls and dominates TET to such an extent that it has no independent existence apart

     from his own (and Reed and Parenteau). He instructs his employees to delay and confuse

     customers about the status of their timeshare “exit” to avoid making good on TET’s

     refund guarantee [see supra, n. 3], while siphoning millions of dollars from the company

     for his own personal pecuniary gain and for extraordinary personal expenses. Hein uses

     TET in an attempt to conceal his identity as an orchestrator of a fraudulent scheme

     directed at timeshare companies, including Orange Lake, such that the corporate form of

     TET must be disregarded and individual liability imposed on Hein in order to prevent

     further losses to Orange Lake.

            37.     This action arises out of and is related to Hein’s purposeful contacts with

     the State of Florida resulting from his actions and TET’s activities that he directed and

     controlled, including (i) the solicitation of owners of Florida timeshares through the use

     of false and deceptive advertising; (ii) the intentional interference with contracts between

     Orange Lake, a Florida company, and owners of timeshare interests in Florida; and (iii)

     making false and misleading statements regarding Orange Lake through TET’s website,

     directed at Florida residents.    Specifically, via postings on TET’s websites, TET

     purposefully directs marketing efforts to, and solicits, Florida residents who own

     timeshare interests in Orange Lake (including Orange Lake Owners who reside in

     Florida). Indeed, through false and deceptive advertisements, TET lures Orange Lake

     Owners to pay large upfront fees to retain TET and induce the Orange Lake Owners to




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     breach existing contracts with Orange Lake. Such false and deceptive advertisements

     also underlie Orange Lake’s claims against Hein for violations of the Lanham Act, 15

     U.S.C. § 1125(a), et seq., violations of the Florida Deceptive and Unfair Trade Practices

     Act (“FDUTPA”), and violations of Section 817.41, Florida Statutes.

            38.    Moreover, TET’s misleading and deceptive advertising campaign, which

     is orchestrated, supervised, and directed by Hein together with Reed and Parenteau,

     solicits owners of Florida timeshare interests through the use of false, misleading, and

     deceptive advertising on, inter alia, the websites, http://www.timeshareexitteam.com,

     www.reedhein.com, and www.321exit.com.            These websites do not constitute passive

     advertising. TET solicits and receives the contact information of owners of Florida

     timeshare interests through the website, which involves the repeated transmission of

     computer files over the internet and allows owners of Florida timeshare interests to

     exchange their contact information with a host computer. Hein designs and directs TET’s

     false and misleading advertising and marketing activities that cause Plaintiffs injury in

     Florida.

                                            Parenteau

            39.     Personal jurisdiction over Parenteau is proper because Parenteau, along

     with Reed and Hein, directs and controls TET, which they formed and have used for the

     improper purpose of operating a fraudulent timeshare exit scheme, and because TET is

     the alter ego of Reed, Hein and Parenteau.

            40.    Parenteau uses TET as a mere instrumentality or business conduit to

     perpetrate a fraud on TET’s customers that results in significant harm to Orange Lake.




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     Indeed, Parenteau controls and dominates TET to such an extent that it has no

     independent existence apart from his own (and Reed and Hein).             He instructs his

     employees to delay and confuse customers about the status of their timeshare “exit” to

     avoid making good on TET’s refund guarantee [see supra, n. 3], while siphoning millions

     of dollars from the company for his own personal pecuniary gain and for extraordinary

     personal expenses. Parenteau uses TET in an attempt to conceal his identity as an

     orchestrator of a fraudulent scheme directed at timeshare companies, including Orange

     Lake, such that the corporate form of TET must be disregarded and individual liability

     imposed on Parenteau in order to prevent further losses to Orange Lake.

            41.    This action arises out of and is related to Parenteau’s purposeful contacts

     with the State of Florida resulting from his actions and TET’s activities that he directed

     and controlled, including (i) the solicitation of owners of Florida timeshares through the

     use of false and deceptive advertising; (ii) the intentional interference with contracts

     between Orange Lake, a Florida company, and owners of timeshare interests in Florida;

     (iii) and making false and misleading statements regarding Orange Lake through TET’s

     website, directed at Florida residents. Specifically, via postings on TET’s websites, TET

     purposefully directs marketing efforts to, and solicits, Florida residents who own

     timeshare interests in Orange Lake (including Orange Lake Owners who reside in

     Florida). Indeed, through false and deceptive advertisements, TET lures Orange Lake

     Owners to pay large upfront fees to retain TET and induce the Orange Lake Owners to

     breach existing contracts with Orange Lake. Such false and deceptive advertisements

     also underlie Orange Lake’s claims against Parenteau for violations of the Lanham Act,




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     15 U.S.C. § 1125(a), et seq., violations of the Florida Deceptive and Unfair Trade

     Practices Act (“FDUTPA”), and violations of Section 817.41, Florida Statutes.

             42.     Moreover, TET’s misleading and deceptive advertising campaign, which

     is orchestrated, supervised, and directed by Parenteau together with Reed and Hein,

     solicits owners of Florida timeshare interests through the use of false, misleading, and

     deceptive advertising on, inter alia, the websites, http://www.timeshareexitteam.com,

     www.reedhein.com, and www.321exit.com.          These websites do not constitute passive

     advertising. TET solicits and receives the contact information of owners of Florida

     timeshare interests through the website, which involves the repeated transmission of

     computer files over the internet and allows owners of Florida timeshare interests to

     exchange their contact information with a host computer. Parenteau designs and directs

     TET’s false and misleading advertising and marketing activities that cause Plaintiffs

     injury in Florida.

                                               VENUE

             43.     Pursuant to 28 U.S.C. § 1391, venue is proper in this judicial district

     because the events or omissions giving rise to the claims asserted in this complaint

     occurred within this judicial district.

                                    GENERAL ALLEGATIONS

             A.      The Orange Lake Timeshare Purchase

             44.     Each timeshare purchaser executes a written purchase agreement

     (“Purchase Agreement”) with Orange Lake.         Pursuant to the terms of the Purchase

     Agreement, in addition to purchasing the timeshare interest, each owner understands and




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     agrees to be bound by the Declaration of Condominium (“Declaration”) for the resort

     where the owner purchased the timeshare, and to be responsible for their share of

     common expenses, assessments, maintenance fees, and any and all other expenses

     incurred in the operation of their timeshare unit. The Declaration is referenced and

     incorporated in the Purchase Agreement with the owners.

            45.     Many timeshare purchasers finance the purchase and execute and deliver

     a promissory note (“Promissory Note”) and mortgage (“Mortgage”) in connection with

     the timeshare purchase. Both the Promissory Note and Mortgage are referenced and

     incorporated in the Purchase Agreement with the owners. Plaintiffs have the right to

     collect on the Promissory Notes and Mortgages.

            B.      Reed, Hein and Parenteau’s TET Scheme

            46.     Collectively, Defendants are engaged in a timeshare cancellation scheme

     which induces Orange Lake Owners to breach their Purchase Agreements with, and

     related mortgage and maintenance fee obligations to, Orange Lake by paying that money,

     and often much, much more, instead to TET as large, upfront fees before any services are

     performed.

            47.     In or around December 2012, Reed and Hein formed TET for the

     improper purpose of soliciting timeshare owners using false and misleading advertising

     with, inter alia, the purpose of tortiously interfering with Plaintiffs’ existing contracts

     with owners of Orange Lake timeshare interests (“Orange Lake Owners”).

            48.     Reed and Hein are the founding members of TET. Reed currently serves

     as Chief Executive Officer of TET, and Parenteau serves as TET’s Chief Operating




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     Officer. Even though Reed and Hein are the purported owners of TET, Reed and Hein

     together with Parenteau are the masterminds behind TET’s overall scheme and direct and

     control all of TET’s activities which are the subject of this lawsuit such that TET is the

     alter ego of Reed, Hein, and Parenteau.

            49.     Through their alter ego TET, Reed, Hein and Parenteau solicit timeshare

     owners, including identifiable Orange Lake Owners, to sign contracts with TET for so-

     called timeshare exit services through in-person sales and webinars calling for large

     payments upfront, long before TET performs any services.

            50.     In order to lure timeshare owners, including Orange Lake Owners, to hire

     TET, Reed, Hein and Parenteau make false and misleading guarantees using a variety of

     marketing methods. Reed, Hein and Parenteau’s methods include paid endorsements by

     radio personalities and motivational speaker’s websites, advertising through radio stations

     across the country, appearing in newspaper articles (such as in the Los Angeles Times

     and USA Today), engaging in television advertising, and advertising through several

     websites,    including:     www.timeshareexitteam.com,        www.reedhein.com,        and

     www.321exit.com. The domain names www.reedhein.com and www.321exit.com both

     redirect customers to wwwtimeshareexitteam.com. Reed, Hein and Parenteau similarly

     utilize social media, such as Facebook, and other internet websites and forums to sell

     TET’s services to timeshare owners, including Orange Lake Owners.

            51.     Among the most notorious of TET’s paid celebrity endorsements is Dave

     Ramsey, a radio personality who advises listeners on personal and household finances.




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     Identifiable Orange Lake Owners have been lured to TET because of Mr. Ramsey’s radio

     show. In fact, Mr. Ramsey’s own website provides a link to TET’s website. 3

            52.      Through the www.timeshareexitteam.com website, Reed, Hein and

     Parenteau advertise that TET will utilize its illusory “proprietary process” to “get rid of”

     owners’ timeshare contracts “Safely. Legitimately. Forever.” As shown by TET’s

     “Frequently Asked Questions” section on its website, TET targets timeshare owners who

     want to terminate their timeshare ownership for any reasons, including just not wanting it

     any more.

            53.      While the “FAQs” may enumerate legitimate individual concerns, there is

     nothing “legitimate” about this website or the sales pitch that accompanies it. Reed, Hein

     and Parenteau falsely portray timeshare owners do not need any legally sufficient basis to

     terminate a timeshare contract or to cease making his or her payments under their legally

     binding contracts with a timeshare company. They also falsely state and imply that they

     can make or force timeshare companies to take back timeshare interests without even

     investigating whether any legal or factual basis exists to cancel the timeshare contracts.

            54.      As part of TET’s advertised “unique strategy,” Reed, Hein and Parenteau

     direct TET’s representatives to instruct owners, including Orange Lake Owners, to stop

     making payments on their timeshare obligations, such as owners’ purchase money

     Promissory Note and Mortgage payments owed, for instance, as well as maintenance and

     tax payments.     Reed, Hein and Parenteau falsely assure the owners that, this way,

     timeshare companies will be more willing to allow the owners to “exit” their timeshare.

     3
              DaveRamsey.com,         The          Truth         about       Timeshares,
     https://www.daveramsey.com/blog/the-truth-about-timeshares (Accessed Aug. 23, 2017).



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     Through TET, Reed, Hein and Parenteau further misrepresent to owners that their credit

     scores will not be affected by halting their payments. Identifiable Orange Lake Owners

     were given these very instructions and assurances.

            55.     TET’s misleading advertising and marketing was designed by Reed, Hein

     and Parenteau to induce Orange Lake Owners to breach their Purchase Agreements with

     Orange Lake. But Reed, Hein and Parenteau fail to inform Orange Lake Owners what,

     exactly, TET’s “exit process” consists of and never publicly disclose TET’s strategy.

     Instead, they repeatedly refer to a vague “exit process” that Reed, Hein and Parenteau

     claim is “proprietary.”

            56.     In actuality, TET’s process and strategy is nothing more than a scheme to

     enrich Reed, Hein, and Parenteau at the expense of timeshare owners and timeshare

     companies. That scheme includes but is not limited to (a) falsely conveying to the public

     that TET can get customers out of their timeshares without even investigating whether

     there is any legitimate reason to do so; (b) falsely conveying that they can make or force

     timeshare companies to take back timeshare interests; (c) falsely conveying that the exit

     will be safe, legal, and permanent; (d) guaranteeing an exit; (e) persuading timeshare

     owners to pay large up-front fees to TET instead of paying their contractually-required

     obligations to timeshare companies and associations; (f) preventing communications

     between timeshare owners and timeshare companies through letters sent by TET-retained

     attorneys, whose identities TET conceals from its customers, allowing TET to manipulate

     the flow of information to its customers and hide the fact that nothing is being done to

     accomplish their timeshare “exits;” (g) utilizing unfair, deceptive, and unlawful methods




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     to complete a so-called “exit;” (h) falsely informing timeshare owner clients that an

     “exit” has been completed; and (i) refusing to honor their money back guarantee when

     certain adverse consequences occur—i.e., foreclosure—because TET considers that

     adverse consequences to be legitimate “exits.”

            57.    Reed, Hein and Parenteau also fail to publicly disclose the fees they

     charge timeshare owners, including Orange Lake Owners. When asked about fees

     charged, the standard response is to state that every case is unique and that a private

     consultation with TET is the only way to obtain a fee quote. Reed, Hein and Parenteau

     thus direct TET representatives to refuse to provide fee information unless a timeshare

     owner participates in a “free consultation” with TET. In reality, TET’s fee is simply a

     function of the timeshare owner’s annual maintenance fees owed to the timeshare

     company—an amount TET justifies because it is less than the 15, 30, or 45 years’ worth

     of maintenance fees to which TET compares it.

            58.    Timeshare owners, including Orange Lake Owners, are thus left with only

     a vague idea as to what TET will do for them (other than TET’s general, false promise to

     exit their timeshare contract) or how TET will accomplish the purported exit. Thus,

     timeshare owners who contact TET, including Orange Lake owners, may not be

     predisposed to exit their timeshare when they contact TET and may only be seeking

     additional information that Reed, Hein and Parenteau refuse to publicly disclose, unless

     the Orange Lake owners submits to a misleading sales pitch deceptively disguised as a

     “free consultation.” Certainly, many of the Orange Lake owners were not predisposed to




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     breach their timeshare contracts, as they were continuing to perform those contracts until

     they saw TET’s advertising and/or received instructions to stop paying.

            59.      The fees charged by Reed, Hein and Parenteau for TET’s purported

     services vary, but are typically thousands of dollars per timeshare owner. These fees are

     so high that Reed, Hein and Parenteau offer financing plans to timeshare owners

     (including Orange Lake Owners).

            60.      TET’s agreements with the owners who retain them are designed to

     protect TET from its own misrepresentations. Identifiable Orange Lake Owners’ retainer

     documents      contain   provisions   that   contradict   the   verbal   instructions   TET’s

     representatives give to the owners and the “guarantees” emblazoned across TET’s

     website.     The following disclaimer is from a February 21, 2016, version of TET’s

     “Things to Remember”:

                     RESORT FEES. You own the Timeshare until the closing
                     of the exit is finalized, thereby relieving you of ownership;
                     you remain responsible for all financial obligations
                     associated with the Timeshare until the exit is complete. If
                     you have determined of your own accord not to pay the
                     resort ever again, you can expect some consequences that
                     may include negative credit reporting, collection activity
                     and/or legal action. In the final resolution with the resort,
                     we may be able to request removal of any negative credit
                     reporting with the credit bureaus. If there is a collection
                     agency involved, we can assist you by requesting that the
                     agency stop contacting you. However, we cannot control
                     all of the actions by the resort or the collection agency. We
                     have found that some resorts are quite pleasant to work
                     with on an exit, while others are not. We can deal with
                     both types for you. Our goal is to achieve an ultimate
                     positive result for you.




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            61.     TET’s aspiration of an “ultimate positive result” is nowhere near

     equivalent to its advertised and apparently demonstrably false “personal GUARANTEE .

     . . that our team of consumer advocates will get you out of your timeshare, period.”

            62.     Unbeknownst to the timeshare owner and undisclosed during the sales

     pitch, the “guarantee” is defined as whatever offer TET can manage to obtain from a

     timeshare resort, even one requiring full payment of all existing and future debt (so that

     the owner is economically worse off than before TET, as they have already paid TET a

     substantial fee). The following excerpt is from a November 23, 2015, TET retainer

     agreement:

                    FEES AND COSTS. Under this Agreement there are
                    absolutely no extra service fees or closing costs to be owed
                    or paid by the CLIENT to REED HEIN. However, some
                    resorts may require a cancellation fee or similar fee to end
                    or exit an ownership, and such fee(s) may be required in
                    your case. These fees will be no greater than the amount of
                    this current year’s maintenance fee. If so, the CLIENT will
                    be required to pay that fee to the Resort for a successful
                    exit. In addition, some resorts require all past maintenance
                    fees to be paid upon the completion of an exit. If required,
                    these past maintenance fees will be paid by the CLIENT.
                    Whether accepted by OWNER or not, an exit agreement
                    obtained by REED HEIN from the Resort shall meet REED
                    HEIN’s Guarantee even though the Resort may require by
                    OWNER of an exit fee.

            63.     But TET does not itself even deal with the timeshare companies – the

     undisclosed, unidentified TET-retained attorneys are the ones who supposedly do so.

     Reed, Hein and Parenteau have TET hire the attorneys to execute TET’s advertised

     “proprietary process,” but do not so inform TET’s customers. These attorneys, including

     Sussman Law and SGB Law, are retained pursuant to an industrialized bulk




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     representation contract under which TET sends the law firm an agreed minimum number

     of files per month and pay a fixed fee per file or per month. TET then positions itself as

     the “interface” between the owners and the undisclosed, unidentified attorneys. But the

     representation agreements prohibit TET from actually telling TET’s clients that the

     undisclosed, unidentified attorneys actually represent them.

            64.     Another deceptive method that Reed, Hein and Parenteau use to mislead

     owners is to compare the cost of paying the owner’s timeshare company to the fee TET is

     charging.    One example showed the cost of fifteen years of maintenance fees

     ($21,579.00) and mortgage payments ($14,861.00), totaling $36,440.00 (not discounted

     to present value) versus TET’s fee of $6,395.00, but totally and deceptively concealed the

     upwards of thirty weeks of already paid for resort accommodations to which the owner

     is entitled. Printed over the final comparison figures, TET asks a simple question:

                    Which of these would you rather pay?

            65.     After signing TET’s retainer documents, owners are assigned a non-

     lawyer “Account Coordinator who becomes [their] personal contact during [the owner’s]

     entire exit process. No general 800 phone numbers or endless automated phone systems

     while trying to reach Customer Service. [The] Account Coordinator will explain how the

     process works and will provide you with status updates throughout the exit process.” In

     fact, however, the e-mail updates that identifiable Orange Lake Owners have received are

     scant, non-specific, and designed to string along Orange Lake Owners into believing that

     actual work is being done on their behalves.




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            66.     Thereafter, TET supposedly begins its purported “negotiation process”

     with the owners’ timeshare companies. On its website, TET states that the “specifics of

     the process will depend on your ownership situation and how the resort responds to our

     requests.”   But regardless, and undisclosed to the customer, no lawyer is actually

     involved and the customer is completely dependent on TET’s non-lawyer telephone

     operators. Nonetheless, TET promises an “exit” without disclosing how that is to be

     accomplished, and promises a full refund of its entire fee otherwise.

            67.     However, by Reed, Hein and Parenteau’s design, TET is not doing any

     work to negotiate anything at all and fails to notify owners of this until the owners are in

     arrears with the developers and the association. Instead, TET’s “Potemkin Village” hires

     law firms – here SGB Law and Sussman Law – whose letterhead is used to send a

     generic “demand” letter to the developer, but the lawyers perform no actual

     “negotiations.” For this, TET has paid these law firms $1,200 each for a minimum of 800

     files a month, which, at more than $1 million a year for little or no actual legal services is

     a lucrative operation for law firms such as Sussman Law and SGB Law. 4 More recently,

     TET has paid SGB law a monthly flat fee in excess of $3 million a year.

            68.     After a year or more of having done nothing nor even trying to do

     something, TET representatives tell identifiable Orange Lake Owners that the attorney

     retained by TET “could not help [the Orange Lake Owners] anymore.”                 Since the

     boilerplate demand letters TET sends for the law firms forbid them from communicating

     4
      In fact, a law firm previously retained by TET has sued TET for breach of one of these
     exclusive and profitable master fee agreements. See Ken B. Privett, PLC v. Reed Hein &
     Associates, LLC d/b/a Timeshare Exit Team, Case No. CJ-17-20 (In the District Court of
     Pawnee County, Oklahoma).



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     with Orange Lake Owners – state debt collection laws mandate that Orange Lake abide

     by that - the owners are not informed that TET, SGB Law, and Sussman Law have

     accomplished absolutely nothing for them until the owners are served with Orange

     Lake’s collection or foreclosure lawsuit.

            69.     All that Reed, Hein, Parenteau, and TET actually accomplish is to

     interfere with routine communication between Orange Lake and the Orange Lake Owners

     and cause those Orange Lake Owners to default on their payment obligations resulting in

     debt collection or foreclosure lawsuits with attendant credit reporting.     Yet, they

     nonetheless falsely claim or, worse yet, knowingly allow owners to believe that TET has

     “exited” the Orange Lake Owners from their Purchase Agreements.

            C.      Sussman Law’s Furtherance of Reed, Hein and Parenteau’s TET
                    Scheme

            70.     As described above, through, inter alia, TET’s deception and false

     advertising, TET, Reed, Hein, and Parenteau instruct owners to stop making their

     required payments to their timeshare companies, thereby causing such owners to breach

     their valid and enforceable agreements with their timeshare company.

            71.     After finally convincing owners to pay TET instead of Orange Lake,

     TET’s next step is to “negotiate” the owners’ exit. TET, however, does not handle the

     negotiation process on its own. Instead, through TET, Reed, Hein and Parenteau hire law

     firms, including Sussman Law, to, inter alia, handle these fruitless “negotiations”

     pursuant to master fee agreements by which TET agrees to pay Sussman Law a portion of

     the upfront fee that TET charges Orange Lake Owners.




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              72.   Sussman Law, without ever speaking with an owner, then sends

     boilerplate demand letters to the owners’ timeshare companies, including Orange Lake,

     instructing them to cease communicating with Sussman Law’s purported “clients.” The

     demand letters state that TET’s “clients” wish to terminate their timeshare agreements.

     Accordingly, the demand letters are not unique to the situation of any Orange Lake

     Owner.

              73.   These letters, which also instruct Orange Lake not to contact the TET

     clients, together with any subsequent correspondence, telephone calls, and e-mails, serve

     to further the interference with the contractual and business relationships between the

     Orange Lake Owners and Orange Lake as Orange Lake cannot gain access to Orange

     Lake Owners to resolve any issues related to their timeshares. As a result, Orange Lake

     is forced to, inter alia, expend considerable money to foreclose on the Orange Lake

     Owners’ timeshare interest.

              74.   These letters also state that the owners will no longer be paying their

     contractual obligations to Orange Lake, demonstrating TET and/or Sussman had already

     instructed owners to stop paying.

              75.   The most perverse part of this scheme is that Sussman would then engage

     in three unfair, deceptive, and unlawful strategies to attempt to “exit” or “cancel” the

     timeshare contract. One strategy was simply notifying Orange Lake that the timeshare

     owner “resigned” from the timeshare. Sussman knows that such a “resignation” does not

     excuse the timeshare owners’ contractual obligations, and he knows that Orange Lake

     does not agree such a “resignation” validly cancels its contracts, but Sussman and/or TET




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     nonetheless falsely inform the timeshare owners that they no longer have any legal or

     financial obligations to Orange Lake. Next, Sussman would have the timeshare owners

     execute deeds purportedly conveying the timeshare interest back to Orange Lake,

     knowing that Orange Lake did not consent to the deed, knowing he would not deliver the

     deed to Orange Lake, knowing Orange Lake did not accept the deed, and knowing

     Orange Lake had no mutual intent for title to transfer. Finally, Sussman would have the

     timeshare owners execute deeds purportedly conveying the timeshare interest to

     individuals who had no ability or intent to pay, and that Sussman often paid $100 to

     accept the deeds. After recording these deeds, and without informing Orange Lake,

     Sussman and/or TET nonetheless falsely inform the timeshare owners that they no longer

     have any legal or financial obligations to Orange Lake. If the owners had not already

     stopped paying, they clearly stop paying their financial obligations to Orange Lake once

     they are falsely informed that they have no further legal or financial obligations.

            76.     Sussman and TET, Reed, Hein, and Parenteau are aware that these

     practices are unlawful and invalid, and in violation of numerous civil and criminal laws,

     but they do not care. They agreed to this unlawful scheme, and they carried it out, as part

     of their conspiracy.

            77.     Sussman Law’s actions in concert with, and in furtherance of Reed, Hein

     and Parenteau’s scheme through TET results in significant damages to Orange Lake

     Defendants’ own pecuniary gain.

            D.      SGB Law’s Furtherance of Reed, Hein and Parenteau’s TET Scheme




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            78.     SGB Law is hired by TET ostensibly to “negotiate” timeshare owners’

     exits with timeshare companies, including Orange Lake. This occurs once TET’s false

     and misleading advertising induces the timeshare owner to contract with TET.

            79.     TET and/or SGB Law then instruct the timeshare owners to stop paying

     their financial obligations, which is to breach their valid and enforceable agreements with

     their timeshare company.

            80.     SGB Law sends cookie-cutter demand letters to Orange Lake for supposed

     clients who they have never met and are not even aware they are represented by a SGB

     Law lawyer. SGB Law’s letters to Orange Lake say little more than TET’s customers

     “are interested in terminating their time share[sic] memberships,” and forbid any

     communication between Orange Lake and Orange Lake Owners “with the lone exception

     of forwarding routine billings to the client via mail.” The letters say nothing about the

     Orange Lake Owner’s individual circumstances but rather are “one size fits all”

     correspondence that’s purpose is to silence Orange Lake. These letters and what follows

     foster TET’s interference with the contractual and business relationships between the

     Orange Lake Owners and Orange Lake as, through the operation of state debt collection

     laws, Orange Lake cannot talk with its own customers about their relationship with

     Orange Lake. Because TET isolates the Orange Lake Owner from Orange Lake, Orange

     Lake has no choice other than to pursue debt collection and/or foreclosure, with the

     resulting expense to Orange Lake.

            81.     SGB Law and TET, Reed, Hein, and Parenteau are aware that these

     practices are based on false and deceptive advertising and intentionally interfere with




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     Orange Lake’s contracts, but they do not care. They agreed to this unlawful scheme, and

     they carried it out, as part of their conspiracy.

             82.     SGB Law’s actions in concert with, and in furtherance of, TET’s scheme

     have caused significant damages to Orange Lake with substantial pecuniary gain for SGB

     Law.

             E.      Defendants’ Actions Have Damaged Plaintiffs

             83.     To date, TET’s false, deceptive, and misleading advertising, conceived,

     controlled, and implemented by Reed, Hein and Parenteau, has caused owners to retain

     TET and to stop making payments on their Promissory Notes and Mortgages they signed

     when they purchased their timeshare interests.        This same false, deceptive, and

     misleading advertising has caused owners to stop making maintenance fee and related

     payments, and has harmed Orange Lake’s reputation, although Plaintiffs are not seeking

     monetary damages for those harms.

             84.     TET, at the direction of Reed, Hein and Parenteau, intentionally and

     unjustifiably interfere with Plaintiffs’ contractual relationships by inducing Orange Lake

     Owners to stop paying Plaintiffs and instead pay TET’s fee, by giving false assurances

     that there will be no harm to their credit scores, and by guaranteeing that they will be

     “exited” from their timeshare “Safely. Legitimately. Forever.” Plaintiffs are damaged

     because TET’s entire business model is premised on drawing customers away from

     Plaintiffs. But for TET’s scheme, conceived, controlled, and implemented by Reed, Hein

     and Parenteau, Orange Lake would not suffer such damages.




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            85.     Sussman Law and SGB Law further TET’s scheme as described above.

     Defendants engaged in this arrangement together for their collective pecuniary gain.

            86.     TET, at the direction of Reed, Hein and Parenteau also engage in unfair

     and deceptive practices, including the unlawful scheme described above, pursuant to

     which TET makes numerous false representations to its customers. These representations

     include falsely informing timeshare owners they no longer have legal or financial

     obligations to Orange Lake, resulting in the owners not paying their obligations, which

     harms Orange Lake and the timeshare owners.

            87.     All conditions precedent to the filing of this action have been satisfied,

     waived, or have occurred.

            88.     Plaintiffs have retained the law firm of Greenspoon Marder LLP to

     represent them in this action and are obligated to pay Greenspoon Marder LLP

     reasonable attorneys’ fees and costs.

        COUNT I: TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS
                 (Against Defendants TET, Reed, Hein and Parenteau)

            89.     Plaintiffs reallege and reincorporate the allegations contained in

     paragraphs 1 through 9 and 44 through 88 above as if more fully set forth herein.

            90.     This is a cause of action for tortious interference with existing contracts

     and for damages in excess of $75,000.00, exclusive of interest, attorney’s fees and costs,

     and is within this Court’s jurisdiction.

            91.     Plaintiffs hold valid and legally enforceable contracts with Orange Lake

     Owners for their timeshare units.




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            92.     TET, Reed, Hein and Parenteau (the “TET Defendants”) have knowledge

     of those relationships. The very fact that the Orange Lake Owners have contracts with

     Plaintiffs is the basis under which the TET Defendants sought to establish a relationship

     with the Orange Lake Owners.

            93.     The TET Defendants sought to capitalize on Plaintiffs’ contractual

     relationships with the Orange Lake Owners by soliciting the Orange Lake Owners

     through TET’s false and misleading advertising, inducing them to pay large upfront fees

     to TET, and inducing them to stop making payments to Plaintiffs or to otherwise breach

     their contracts with Orange Lake, notwithstanding the Orange Lake Owners’ legally

     enforceable contracts with Plaintiffs. The TET Defendants do this to divert money

     contractually owed to Orange Lake to TET instead.

            94.     The TET Defendants’ false and misleading advertising used to induce

     Orange Lake Owners to breach their contractual relationships with Orange Lake include

     deceptive website, radio, and television advertisements, and celebrity endorsements. The

     TET Defendants also induce Orange Lake Owners to stop making their payments to

     Orange Lake or to otherwise breach their contracts with Orange Lake in numerous other

     ways, including stating and suggesting that no valid grounds are needed to cancel a

     contract, stating and suggesting they can have any contract cancelled, making false

     promises of achieving a favorable timeshare exit safely, legally, or permanently, and even

     by falsely informing owners that they no longer owe Orange Lake any legal or financial

     obligations based on unlawful and invalid exit strategies.




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            95.     The TET Defendants’ willful actions to induce parties with whom

     Plaintiffs have valid contractual agreements to breach their agreements constitute

     intentional interference with existing contracts.

            96.     TET Defendants have no justification or privilege to interfere with

     Plaintiffs’ existing contracts, and TET Defendants do not even investigate whether any

     such justification or privilege may exist prior to the interference.

            97.     The TET Defendants’ actions were not made in good faith, but rather were

     made with purely selfish and mercenary reasons so as to collect and retain the large pre-

     paid retainer fee without actually providing any meaningful services to the Orange Lake

     Owners and with the knowledge and purpose to injure Plaintiffs or with reckless

     disregard for the attendant consequences naturally, directly, and proximately resulting

     from the TET Defendants actions and without reasonable grounds for the TET

     Defendants to believe that their actions were justified and proper.

            98.     As a direct and proximate result of the TET Defendants’ intentional

     misconduct, Orange Lake Owners have terminated, or have sought to terminate, their

     contractual relationship with Plaintiffs before the expiration of the terms of those

     contracts.

            99.     As a direct and proximate result of the foregoing, Plaintiffs suffered

     damages.

            100.    An injunction is a viable form of relief in a suit for tortious interference.




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                    a)         As parties to legitimate and enforceable agreements with Orange

     Lake Owners, Plaintiffs have a clear legal right or interest in such contracts with Orange

     Lake Owners.

                    b)         As set forth in part above, the TET Defendants have procured

     unwarranted and unjustified contract breaches, so Plaintiffs have a substantial likelihood

     of success on merits.

                    c)         The TET Defendants continue to solicit timeshare owners, such as

     Orange Lake Owners, through the described misleading and deceptively false marketing,

     which shows a strong likelihood that Plaintiffs will continue to suffer irreparable harm on

     an ongoing basis because any remedy at law for the TET Defendants’ perpetuation of the

     deceptive, fraudulent, and unfair marketing practices is inadequate.

                    d)         An injunction serves the public interest because, inter alia, an

     injunction would serve to protect timeshare owners as consumers and the fair and

     legitimate operation of the timeshare industry.

            101.    As a proximate result of the TET Defendants’ unlawful conduct, Plaintiffs

     are being irreparably harmed and are entitled to have TET’s conduct enjoined and

     restrained. Plaintiffs also are entitled to damages for interference with contracts and

     business relationships.

          WHEREFORE, Plaintiffs ORANGE LAKE COUNTRY CLUB, INC., and

     WILSON RESORT FINANCE, L.L.C., respectfully request that this Court:

            A.      Enter judgment after trial for a permanent injunction in favor of Plaintiffs

     and against Defendant REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT




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     TEAM, BRANDON REED, TREVOR HEIN, and THOMAS PARENTEAU and their

     officers, agents, servants, employees, and attorneys and on those persons in active concert

     or participation with them who receive actual notice of the injunction enjoining them

     from:

                      1) Engaging in false and misleading advertising;

                      2) Intentionally interfering with Plaintiffs’ contracts; and

                      3) Engaging in deceptive or unfair trade practices.

               B.     Enter judgment for damages (a natural consequence of the TET

     Defendants’ wrongs) and punitive damages;

               D.     Enter judgment in favor of Plaintiffs and against the TET Defendants for

     costs of suit incurred in this action; and

               E.     Award Plaintiffs such other and further relief as the Court may deem

     proper.

                                       COUNT II: DISMISSED

                                COUNT III: CIVIL CONSPIRACY
                            (Against Defendants TET and Sussman Law)

               102.   Plaintiffs reallege and reincorporate the allegations contained in

     paragraphs 1 through 9 and 44 through 88 above as if more fully set forth herein.

               103.   This is a cause of action for civil conspiracy to commit tortious

     interference with existing contracts and for damages in excess of $75,000.00, exclusive

     of interest, attorney’s fees and costs, and is within this Court’s jurisdiction.




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            104.    TET and Sussman Law are parties to a civil conspiracy as they agreed and

     conspired to commit an unlawful act by interfering with Plaintiffs’ existing contracts, and

     to do so using unlawful means.

            105.    TET and Sussman Law each performed one or more overt actions in

     furtherance of their conspiracy, including without limitation:

                    a)     TET uses false and misleading advertising to lure Orange Lake

                           Owners to obtain TET’s services;

                    b)     TET and Sussman directly and indirectly instruct and encourage

                           Orange Lake Owners to stop paying their obligations to Orange

                           Lake or to otherwise breach their contracts with Orange Lake,

                           without any investigation into the circumstances of the owner’s

                           situation and without knowledge whether there is any legal basis to

                           do so;

                    c)     This is done to convince the Orange Lake Owners to pay TET

                           instead of Orange Lake (see e.g., chart comparing costs, referenced

                           above), and so that TET can pay Sussman;

                    d)     At TET’s direction and pursuant to their agreement, Sussman Law

                           sends boilerplate demand letters to Orange Lake, purportedly

                           resigning owners from Orange Lake, stating the owners will not

                           pay their contractual obligations, and effectively cutting off

                           communication between Orange Lake and the owners;




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                    e)     At TET’s direction and pursuant to their agreement, Sussman Law

                           engages in the only three “exit” methods he uses—resignation,

                           unilateral deed back, and deed to associate, all of which are

                           unlawful and invalid;

                    f)     Knowing that these methods are unlawful and invalid, and not safe,

                           legal, or permanent, TET and Sussman then falsely inform the

                           owners they have no legal or financial obligations to Orange Lake.

                    g)     TET and Sussman consider these successful “exits,” even if they

                           later result in successful foreclosure or other legal action against

                           the owner, and TET and Sussman keep their respective portions of

                           the fee collected from the owner.

            106.    As a direct and proximate result of TET and Sussman Law’s civil

     conspiracy, the Orange Lake Owners have terminated, or have sought to terminate, their

     contractual relationship with Plaintiffs before the expiration of the terms of those

     contracts.

            107.    TET and Sussman Law did not have any justification or privilege in

     procuring the breach of such business relationships.

            108.    As a direct and proximate result of the foregoing, Plaintiffs suffered

     damages.

            109.    An injunction is a viable form of relief for a cause of action for civil

     conspiracy to commit tortious interference with existing contracts.




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                    a)      TET and Sussman Law’s actions, as outlined above, constitute a

     civil conspiracy to commit tortious interference with existing contracts.

                    b)      TET and Sussman Law have procured unwarranted and unjustified

     contract breaches due to their civil conspiracy to commit tortious interference with

     existing contracts, so Plaintiffs have a substantial likelihood of success on merits.

                    c)      Sussman Law continues to provide services to TET’s customers,

     through their civil conspiracy to commit tortious interference with existing contracts,

     which shows a strong likelihood that Plaintiffs will suffer irreparable harm on an ongoing

     basis because any remedy at law for TET and Sussman Law’s perpetuation of their civil

     conspiracy to commit tortious interference with existing contracts is inadequate.

                    d)      An injunction serves the public interest because, inter alia, an

     injunction would serve to protect timeshare owners as consumers and the fair and

     legitimate operation of the timeshare industry.

            110.    As a proximate result of TET and Sussman Law’s unlawful conduct,

     Plaintiffs are being irreparably harmed and are entitled to have TET and Sussman Law’s

     conduct enjoined and restrained.

          WHEREFORE, Plaintiffs ORANGE LAKE COUNTRY CLUB, INC., and

     WILSON RESORT FINANCE, L.L.C., respectfully request that this Court:

            A.      Enter judgment after trial for a permanent injunction in favor of Plaintiffs

     and against Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT

     TEAM, and MITCHELL REED SUSSMAN d/b/a MITCHELL REED SUSSMAN &

     ASSOCIATES, and their officers, agents, servants, employees, and attorneys and on




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     those persons in active concert or participation with them who receive actual notice of the

     injunction enjoining them from:

                      1) Engaging in false and misleading advertising;

                      2) Intentionally interfering with Plaintiffs’ contracts; and

                      3) Engaging in deceptive, misleading, and unfair trade practices.

               B.     Enter judgment for damages and lost profits (a natural consequence of

     TET and Sussman Law’s wrongs) and punitive damages;

               C.     Enter judgment in favor of Plaintiffs and against TET and Sussman Law

     for costs of suit incurred in this action; and

               E.     Award Plaintiffs such other and further relief as the Court may deem

     proper.

                                COUNT IV: CIVIL CONSPIRACY
                              (Against Defendants TET and SGB Law)

               111.   Plaintiffs reallege and reincorporate the allegations contained in

     paragraphs 1 through 9 and 44 through 88 above as if more fully set forth herein.

               112.   This is a cause of action for civil conspiracy to commit tortious

     interference with existing contracts and for damages in excess of $75,000.00, exclusive

     of interest, attorney’s fees and costs, and is within this Court’s jurisdiction.

               113.   TET and SGB Law are parties to a civil conspiracy as they conspired to

     commit an unlawful act by interfering with Plaintiffs’ existing contracts, and to do so

     using unlawful means.

               114.   TET and SGB Law each performed one or more overt actions in

     furtherance of their conspiracy, including without limitation:



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                    a)      TET uses false and misleading advertising to lure Orange Lake

                            Owners to obtain TET’s services;

                    b)      TET and SGB directly and indirectly instruct and encourage

                            Orange Lake Owners to stop paying their obligations to Orange

                            Lake or to otherwise breach their contracts with Orange Lake

                            without any investigation into the circumstances of the owner’s

                            situation and without knowledge whether there is any legal basis to

                            do so;

                    c)      This is done to convince the Orange Lake Owners to pay TET

                            instead of Orange Lake (see e.g., chart comparing costs, referenced

                            above), and so that TET can pay SGB;

                    d)      At TET’s direction and pursuant to their agreement, SGB Law

                            sends boilerplate demand letters to Plaintiffs, stating non-legal

                            bases upon which Orange Lake Owners can purportedly cancel

                            their Purchase Agreements, and effectively cuts off communication

                            between Orange Lake and the owners, all in furtherance of TET’s

                            interference between the Orange Lake Owners and Orange Lake..

            115.    As a direct and proximate result of TET and SGB Law’s civil conspiracy,

     the Orange Lake Owners have terminated, or have sought to terminate, their contractual

     relationship with Plaintiffs before the expiration of the terms of those contracts.

            116.    TET and SGB Law did not have any justification or privilege in procuring

     the breach of such business relationships.




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            117.    As a direct and proximate result of the foregoing, Plaintiffs suffered

     damages.

            118.    An injunction is a viable form of relief for a cause of action for civil

     conspiracy to commit tortious interference with existing contracts.

                    a)      TET and SGB Law’s actions, as outlined above, constitute a civil

     conspiracy to commit tortious interference with existing contracts.

                    b)      TET and SGB Law have procured unwarranted and unjustified

     contract breaches due to their civil conspiracy to commit tortious interference with

     existing contracts, so Plaintiffs have a substantial likelihood of success on merits.

                    c)      TET and SGB Law continue to solicit timeshare owners, such as

     Orange Lake Owners, through their civil conspiracy to commit tortious interference with

     existing contracts, which shows a strong likelihood that Plaintiffs will suffer irreparable

     harm on an ongoing basis because any remedy at law for TET and SGB Law’s

     perpetuation of their civil conspiracy to commit tortious interference with existing

     contracts is inadequate.

                    d)      An injunction serves the public interest because, inter alia, an

     injunction would serve to protect timeshare owners as consumers and the fair and

     legitimate operation of the timeshare industry.

            119.    As a proximate result of TET and SGB Law’s unlawful conduct, Plaintiffs

     are being irreparably harmed and are entitled to have TET and SGB Law’s conduct

     enjoined and restrained.




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           WHEREFORE, Plaintiffs ORANGE LAKE COUNTRY CLUB, INC., and

     WILSON RESORT FINANCE, L.L.C., respectfully request that this Court:

               A.     Enter judgment after trial for a permanent injunction in favor of Plaintiffs

     and against Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT

     TEAM; and SCHROETER GOLDMARK & BENDER, P.S., and their officers, agents,

     servants, employees, and attorneys and on those persons in active concert or participation

     with them who receive actual notice of the injunction enjoining them from:

                      1) Engaging in false and misleading advertising;

                      2) Intentionally interfering with Plaintiffs’ contracts; and

                      3) Engaging in deceptive, misleading, and unfair trade practices.

               B.     Enter judgment for damages and lost profits (a natural consequence of

     TET and SGB Law’s wrongs) and punitive damages;

               C.     Enter judgment in favor of Plaintiffs and against TET and SGB Law for

     costs of suit incurred in this action; and

               E.     Award Plaintiffs such other and further relief as the Court may deem

     proper.

                COUNT V: VIOLATION OF FLORIDA’S DECEPTIVE
          AND UNFAIR TRADE PRACTICES ACT, FLA. STAT. § 501.201, et seq.
                 (Against Defendants TET, Reed, Hein, and Parenteau)

               120.   Plaintiffs reallege and reincorporate the allegations contained in

     paragraphs 1 through 9 and 44 through 88 above as if more fully set forth herein.

               121.   This is a cause of action for violations of the Florida Deceptive and Unfair

     Trade Practices Act, Fla. Stat. § 501.201, et seq. (“FDUTPA”), against TET, Reed, Hein,




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     and Parenteau (the “TET Defendants”), including unconscionable acts and practices and

     unfair and deceptive practices in the conduct of trade or commerce.

            122.    The TET Defendants are engaged in “trade or commerce” as defined by

     Fla. Stat. §501.203(8).

            123.    Plaintiffs are “interested part[ies] or person[s]” as defined by Section

     501.203(6), Florida Statutes.

            124.    The TET Defendants have engaged in unconscionable, unfair, and

     deceptive acts or practices, including without limitation the following:

                    a)      soliciting Orange Lake Owners through false and misleading

                            advertising which deceives Orange Lake Owners into believing

                            that they may cancel their timeshare interest without any legal

                            basis or reason whatsoever, that TET has the ability to make or

                            force timeshare companies to accept the cancellation, and that the

                            cancellation is safe, legal, and permanent;

                    b)      fraudulently inducing Orange Lake Owners into retaining TET

                            based on TET’s advertised “100% guarantees” of “exiting”

                            timeshares when the TET Defendants cannot actually fulfill the

                            guarantee without detriment to the Orange Lake Owner;

                    c)      misrepresenting that they will “interface” between the Orange

                            Lake Owners and law firms such as Sussman Law and SGB Law

                            without providing the Orange Lake Owners details about the

                            attorneys or actually facilitating contact between them, and when




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                           the Orange Lake Owners often never communicate with Sussman

                           Law and SGB Law;

                    d)     instructing Sussman Law and SGB Law to transmit demand letters

                           to Orange Lake attempting to terminate the Orange Lake Owners’

                           contracts without any investigation into the circumstances of the

                           owner’s situation and without knowledge whether there is any

                           legal basis to do so;.

                    e)     Providing knowingly false status updates to customers;

                    f)     Using and allowing vendors and attorneys to use unlawful and

                           invalid methods or strategies to cancel timeshare contracts;

                    g)     Falsely informing owners they had no legal or financial obligations

                           to Orange Lake after unlawful and invalid methods or strategies

                           were used to attempt to cancel timeshare contracts; and

                    h)     Failing to disclose risks of methods or strategies to be used to

                           timeshare owners.

            125.    Plaintiffs have a clear legal right or interest in being free from the TET

     Defendants’ deceptive or unfair advertising, as the false statements and representations

     set forth above have demonstrated specific past and present grievances, and will result in

     future grievances, and will result in future grievances if the TET Defendants are not

     enjoined.

            126.    The TET Defendants continue to engage in such false and deceptive

     marketing campaigns and fraudulent representations for the purpose of soliciting the




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     Orange Lake Owners and inducing them to pay large upfront retainer fees with the false

     representation that the Orange Lake Owners may unilaterally terminate their obligations

     with Plaintiffs without any valid legal basis, and therefore, there is a strong likelihood

     that Plaintiffs will suffer irreparable harm on an ongoing basis and any remedy at law for

     the TET Defendants’ perpetuation of the deceptive, fraudulent, and unfair marketing

     practices, is inadequate.

            127.    Pursuant to Fla. Stat. §§ 501.211(2) and 501.2105, Plaintiffs are entitled to

     damages, attorney’s fees, and costs.

            128.    Pursuant to Fla. Stat. § 501.211(1), declaratory and injunctive relief are

     viable forms of relief for violation of FDUTPA.

                    a)      The TET Defendants’ actions, as outlined above, constitute

                            deceptive, misleading, and unfair practices in violation of

                            FDUTPA.

                    b)      The TET Defendants have procured unwarranted and unjustified

                            contract breaches due to The TET Defendants’ deceptive,

                            misleading, and unfair practices in violation of FDUTPA, so

                            Plaintiffs have a substantial likelihood of success on merits.

                    c)      The TET Defendants continue to solicit timeshare owners, such as

                            Orange Lake Owners, and procure unwarranted and unjustified

                            contract breaches through the TET Defendants’ deceptive,

                            misleading, and unfair practices in violation of FDUTPA, which

                            shows a strong likelihood that Plaintiffs will suffer irreparable




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                            harm on an ongoing basis because any remedy at law for the TET

                            Defendants’ perpetuation of their deceptive, misleading, and unfair

                            practices in violation of FDUTPA is inadequate.

                     d)     An injunction serves the public interest because, inter alia, an

                            injunction would serve to protect timeshare owners as consumers

                            and the fair and legitimate operation of the timeshare industry.

              129.   As a proximate result of the TET Defendants’ unlawful conduct, Plaintiffs

     are being irreparably harmed and are entitled to have the TET Defendants’ conduct

     enjoined and restrained.

             WHEREFORE, Plaintiffs ORANGE LAKE COUNTRY CLUB, INC., and

     WILSON RESORT FINANCE, L.L.C., respectfully request that this Court:

              A.     Enter judgment after trial for a permanent injunction in favor of Plaintiffs

     and against Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT

     TEAM, BRANDON REED, TREVOR HEIN, and THOMAS PARENTEAU and their

     officers, agents, servants, employees, and attorneys and on those persons in active concert

     or participation with them who receive actual notice of the injunction enjoining them

     from:

                     1) Engaging in false and misleading advertising;

                     2) Intentionally interfere with Plaintiffs’ contracts; and

                     3) Engaging in deceptive, misleading, and unfair trade practices.

              B.     Enter judgment for actual damages;




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               D.     Enter judgment in favor of Plaintiffs and against the TET Defendants for

     costs of suit incurred in this action; and

               E.     Award Plaintiffs such other and further relief as the Court may deem

     proper.

                                      COUNT VI: DISMISSED

                             COUNT VII: FALSE ADVERTISING
                        UNDER THE LANHAM ACT, 15 U.S.C. § 1125(a)
                      (Against Defendants TET, Reed, Hein, and Parenteau)

               130.   Plaintiffs reallege and reincorporate the allegations contained in

     paragraphs 1 through 9and 44 through 88 above as if more fully set forth herein.

               131.   This is a cause of action for false advertising under the Lanham Act, 15

     U.S.C. § 1125(a), and is within this Court’s jurisdiction.

               132.   Plaintiffs are engaged in commerce within the control of Congress because

     they have a cognizable commercial interest in reputation or sales and fall within the zone

     of interest protected by 15 U.S.C. § 1125(a).

               133.   As outlined above, TET, Reed, Hein, and Parenteau (the “TET

     Defendants”) have made material false or misleading statements in interstate commerce

     in connection with commercial advertising or solicitation.

               134.   The TET Defendants’ statements, outlined in part above, are not only

     literally false, but also are misleading when considered in their full context.

               135.   The TET Defendants’ advertised “timeshare exit” services travel in

     interstate commerce.




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             136.    As described above, the TET Defendants misleadingly advertise on the

     Internet, radio, and television, and through celebrity endorsements that they guarantee to

     relieve timeshare owners of their timeshare obligations if TET is retained.

             137.    As outlined above, the TET Defendants manage and control the operations

     of TET, and therefore direct the marketing and advertising decisions of TET.

             138.    The TET Defendants are in direct competition with Plaintiffs for the

     payments Orange Lake Owners owe to Plaintiffs. The TET Defendants specifically seek

     to have Orange Lake Owners make payments to TET instead of to Plaintiffs.

             139.    The TET Defendants’ statements that any person can be exited from or

     have a timeshare contract cancelled, regardless of reason, are false or misleading or made

     in bad faith.

             140.    The TET Defendants’ statements that they guarantee to relieve timeshare

     owners of their timeshare obligations if TET is retained are false or misleading or made

     in bad faith.

             141.    The TET Defendants’ statements that they have a proprietary process are

     false or misleading or made in bad faith.

             142.    The TET Defendants’ statements that they offer safe, legal, and permanent

     exits or cancellations of timeshare contracts are false or misleading or made in bad faith.

             143.    The TET Defendants’ statements that they can make or force timeshare

     companies to accept cancellations of timeshare contracts are false or misleading or made

     in bad faith.




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            144.    The TET Defendants’ advertisements deceived, or had the capacity to

     deceive, consumers, thereby having a material effect on consumer purchasing decisions

     and resulting in damages to Plaintiffs.

            145.    Plaintiffs suffered harm to their commercial interests and to their

     reputation based on the TET Defendants’ false and deceptive statements.

            146.    An injunction is a viable form of relief for violation of the Lanham Act.

                    a)      The TET Defendants’ actions, as outlined above, constitute false

     advertising in violation of 15 U.S.C. § 1125(a).

                    b)      The TET Defendants have procured unwarranted and unjustified

     contract breaches due to their false advertising in violation of 15 U.S.C. § 1125(a), so

     Plaintiffs have a substantial likelihood of success on merits.

                    c)      The TET Defendants continue to solicit timeshare owners, such as

     Orange Lake Owners, through their false advertising, which shows a strong likelihood

     that Plaintiffs will suffer irreparable harm on an ongoing basis because any remedy at law

     for the TET Defendants’ perpetuation of their false advertising is inadequate.

                    d)      An injunction serves the public interest because, inter alia, an

     injunction would serve to protect timeshare owners as consumers and the fair and

     legitimate operation of the timeshare industry.

            147.    As a proximate result of the TET Defendants’ unlawful conduct, Plaintiffs

     are being irreparably harmed and are entitled to have the TET Defendants’ conduct

     enjoined and restrained.




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             WHEREFORE, Plaintiffs ORANGE LAKE COUNTRY CLUB, INC., and

     WILSON RESORT FINANCE, L.L.C., respectfully request that this Court:

              A.    Enter judgment after trial for a permanent injunction in favor of Plaintiffs

     and against Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT

     TEAM, BRANDON REED, TREVOR HEIN, and THOMAS PARENTEAU and their

     officers, agents, servants, employees, and attorneys and on those persons in active concert

     or participation with them who receive actual notice of the injunction enjoining them

     from:

                    1) Engaging in false advertising;

                    2) Intentionally interfering with Plaintiffs’ contracts; and

                    3) Engaging in deceptive, misleading, and unfair trade practices.

              B.    Enter an Order that the TET Defendants be required to take down and

     destroy all false, misleading, and deceptive material found on TET’s website and found

     in any marketing material or documentation that the TET Defendants produce or are

     using;

              C.    Enter an Order that the TET Defendants be directed to file with this Court

     and serve on Plaintiffs within fifteen days after the service of an injunction, a report, in

     writing under oath, setting forth in detail the manner and form in which the TET

     Defendants have complied with the injunction;

              D.    Enter an Order requiring the TET Defendants to provide notice of the

     injunction by posting the Order on TET’s website;

              E.    Enter judgment for disgorgement of Defendants’ profits;




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               F.    Enter judgment in favor of Plaintiffs and against the TET Defendants for

     costs of suit, expenses, and attorneys’ fees pursuant to 15 U.S.C. § 1117; and

               G.    Award Plaintiffs such other and further relief as the Court may deem

     proper.

               DATED this ___ day of ______, 2018.

                                                  Respectfully submitted,

                                                  By: _______________________
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